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 4
     Attorney for ALICE PETERSON,
 5   Defendant
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          ) No. CR.S-07-126-EJG
                                        )
12                     Plaintiff,       ) WAIVER OF DEFENDANT'S PRESENCE
                                        )      (Rule 43, F.R.Cr.P.)
13        v.                            )
                                        )
14   ALICE PETERSON,                    )
                                        )
15                     Defendant.       )
                                        )
16                                      )
17
18        The defendant hereby waives the right to be present in person in
19   open court upon the hearing of any motion or other proceeding in this
20   case, including, but not limited to, when the case is ordered set for
21   trial, when a continuance is ordered, and when any other action is
22   taken by the court before or after trial, except upon arraignment,
23   initial appearance, plea, trial confirmation hearing, impanelment of
24   jury, every trial stage including verdict, and imposition of sentence.
25   The defendant hereby requests the court to proceed during every absence
26   of hers which the court may permit pursuant to this waiver, agrees that
27   her interests will be deemed represented at all times by the presence
28   of her attorney the same as if she were personally present, and further


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 1   agrees to be present in court and ready for trial any day and hour the
 2   court may fix in her absence.
 3        The defendant further acknowledges that she has been informed of
 4   her rights under Title 18 U.S.C. Sections 3161 - 3174 (Speedy Trial
 5   Act), and authorizes her attorney to set times and delays under that
 6   act without her being present.
 7   Dated:    June 25, 2007                         /s/ ALICE PETERSON
                                                     ALICE PETERSON, Defendant
 8                                                   (original retained in
                                                     attorney's file)
 9
10        I agree with and consent to my client's waiver of appearance.
11   Dated:    June 25, 2007                         /s/ CANDACE A. FRY
                                                     CANDACE A. FRY, Attorney for
12                                                   Defendant ALICE PETERSON
13
14   IT IS SO ORDERED.
15   Dated:        June 26, 2007                        /s/ Edward J. Garcia
                                                     EDWARD J. GARCIA
16                                                   UNITED STATES DISTRICT JUDGE
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